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16                                UNITED STATES DISTRICT COURT

17                              EASTERN DISTRICT OF CALIFORNIA
18
                                           FRESNO DIVISION
19
     GERALD CARLIN, JOHN RAHM, PAUL                   )   Case No. 1:09-CV-00430-AWI-EPG
20   ROZWADOWSKI and DIANA WOLFE,                     )
     individually and on behalf of themselves and all )   STIPULATION EXTENDING TIME TO
21   others similarly situated,                       )   FILE REQUEST FOR
                                                      )   RECONSIDERATION BY THE
22
                    Plaintiffs,                       )   DISTRICT COURT OF THE
23                                                    )   MAGISTRATE JUDGE’S RULING AND
             v.                                       )   ORDER
24                                                    )
     DAIRYAMERICA, INC., and CALIFORNIA )
25   DAIRIES,                                         )
26                                                    )
                    Defendants.                       )
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 1          Because the parties are in good faith considering a proposed settlement, Defendant
 2   DairyAmerica, Inc. (“DairyAmerica”) seeks a short extension of time on an upcoming deadline to
 3   present an issue for the District Court judge to review. Plaintiffs have consented to this extension.
 4   Accordingly, the two parties stipulate to the following extension and request Court approval:
 5                                                RECITALS
 6          Whereas all parties (including relevant insurance carriers) attended a mediation on
 7   February 5, 2018 before Robert A. Meyer at JAMS (“Mediator”);
 8          Whereas the Mediator made a formal proposal for resolving all claims at issue in this
 9   matter, known as a mediator’s proposal, and requested the parties to provide their response within
10   two weeks; and
11          Whereas the current deadline for DairyAmerica to file a Request for Reconsideration By
12   the District Court of the Magistrate Judge’s Ruling Granting Plaintiffs’ Motion to Compel (Dkt.
13   No. 542) is February 12, 2018, and Plaintiffs have agreed to grant an extension for a two week
14   period while the parties consider the mediator’s proposal.
15                                             STIPULATION
16          Therefore, IT IS HEREBY STIPULATED AND AGREED, by DairyAmerica and
17   Plaintiffs, through their respective counsel of record that:
18              1. DairyAmerica’s Request for Reconsideration By the District Court of the
19      Magistrate Judge’s Ruling Granting Plaintiffs’ Motion to Compel (Dkt. No. 542) is due on
20      February 26, 2018.
21   Dated: February 7, 2018                        Respectfully submitted,
22         /s/ Allison A. Davis                      /s/ George Farah (as authorized on 2/7/18)
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16                                              Counsel for Plaintiffs and the Proposed Class

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 1                                                ORDER
 2          IT IS HEREBY ORDERED THAT:
 3          In light of the parties’ good faith consideration of the mediator’s proposal, the deadline for
 4   DairyAmerica to file a Request for Reconsideration By the District Court of the Magistrate
 5   Judge’s Ruling Granting Plaintiffs’ Motion to Compel (Dkt. No. 542) is February 26, 2018.
 6
     IT IS SO ORDERED.
 7

 8      Dated:    February 8, 2018                             /s/
                                                       UNITED STATES MAGISTRATE JUDGE
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